Case 1:19-cv-24184-MGC Document 37 Entered on FLSD Docket 04/22/2020 Page 1 of 3
                Case: 20-10702 Date Filed: 04/21/2020 Page: 1 of 1

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                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                                                                                         Apr 21, 2020
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303
                                                                                                                 MIAMI

  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                           April 21, 2020

  Clerk - Southern District of Florida
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 20-10702-BB
  Case Style: James Buckman v. Deutsche Bank National Trust
  District Court Docket No: 1:19-cv-24184-MGC

  The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
  11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
  motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of
  such order. No additional time shall be allowed for mailing."

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Tonya L. Richardson, BB/lt
  Phone #: (404) 335-6174

  Enclosure(s)

                                                                DIS-4 Multi-purpose dismissal letter
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                        IN THE UNITED STATES COURT OF APPEALS

                                 FOR THE ELEVENTH CIRCUIT
                                   ________________________

                                        No. 20-10702-BB
                                   ________________________

  JAMES BUCKMAN,

                                                                               Plaintiff-Appellant,

  MAURICE SYMONETTE,

                                                                                         Plaintiff,

                                               versus

  LANCASTER MORTGAGE CO., et al.,

                                                                                       Defendants,

  DEUTSCHE BANK NATIONAL TRUST CO.,
  as Trustee under the pooling and servicing
  agreement series rast 2006-A8,

                                                                              Defendant-Appellee.
                                   ________________________

                            Appeal from the United States District Court
                                for the Southern District of Florida
                                  ________________________

  Before: JORDAN, BRANCH and LAGOA, Circuit Judges.

  BY THE COURT:

         This appeal is DISMISSED, sua sponte, for lack of jurisdiction.          James Buckman,

  proceeding pro se, has appealed from the district court’s January 8, 2020 order granting Deutsche

  Bank National Trust Company’s motion for an extension of time to respond to the amended

  complaint. Because the January 8 order was made to facilitate further proceedings on substantive

  matters, the order is not final or immediately appealable. See 28 U.S.C. § 1291; CSX Transp., Inc.
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                Case: 20-10702 Date Filed: 04/21/2020 Page: 2 of 2


  v. City of Garden City, 235 F.3d 1325, 1327 (11th Cir. 2000); Broussard v. Lippman, 643 F.2d

  1131, 1133 (5th Cir. Unit A Apr. 1981) (explaining that any order made in anticipation of further

  proceedings on the merits is not final).

         No motion for reconsideration may be filed unless it complies with the timing and other

  requirements of 11th Cir. R. 27-2 and all other applicable rules.




                                                   2
